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          EXHIBIT 9
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                                                      7-9FORM
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                                                              13F-NT



    The Securities and Exchange Commission has not necessarily reviewed the information in this filing and has
                                   not determined if it is accurate and complete.
                    The reader should not assume that the information is accurate and complete.

                    UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                    OMB APPROVAL
                                                  Washington, D.C. 20549
                                                                                                                            3235-
                                                        FORM 13F                                      OMB Number:
                                                                                                                             0006
                                                                                                      Estimated average burden
                                                                                                      hours per
                                              FORM 13F COVER PAGE                                     response:
                                                                                                                             23.8




  Report for the Calendar Year or Quarter Ended: 09-30-2023
  Check here if Amendment                    Amendment Number:
  This Amendment (Check only one.):          is a restatement.
                                             adds new holdings entries.


  Institutional Investment Manager Filing this Report:

                                    CREDIT SUISSE SECURITIES
  Name:
                                    (USA) LLC
  Address:                          ELEVEN MADISON AVENUE

                                    NEW YORK CITY, NY 10010-
                                    3629
  Form 13F File Number:             028-11380
  CRD Number (if applicable):
  SEC File Number (if
  applicable):



  The institutional investment manager filing this report and the person by whom it is signed hereby represent that the
  person signing the report is authorized to submit it, that all information contained herein is true, correct and
  complete, and that it is understood that all required items, statements, schedules, lists, and tables, are considered
  integral parts of this form.


  Person Signing this Report on Behalf of Reporting Manager:
  Name:             Robert Andric
  Title:               Director
  Phone:               212-325-2000


  Signature, Place, and Date of Signing:

  Robert Andric                     Zurich, V8         11-13-2023
             [Signature]               [City, State]       [Date]




  Report Type (Check only one.):

     13F HOLDINGS REPORT. (Check here if all holdings of this reporting manager are reported in this report.)
https://www.sec.gov/Archives/edgar/data/1230485/000156761923007690/xslForm13F_X02/primary_doc.xml                                   1/2
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                                                      7-9FORM
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                                                              13F-NT
      13F NOTICE. (Check here if no holdings reported are in this report, and all holdings are reported by other reporting
  X
      manager(s).)
      13F COMBINATION REPORT. (Check here if a portion of the holdings for this reporting manager are reported in this
      report and a portion are reported by other reporting manager(s).)


  List of Other Managers Reporting for this Manager:
  [If there are no entries in this list, omit this section.]

                                                                   CRD No. (if             SEC File No. (if
                    Name                   Form 13F File No.                                                  CIK
                                                                   applicable)             applicable)
                    CREDIT SUISSE AG/ 028-11379                                                               0000824468




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